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            IN THE UNITED STATES DISTRICT COURT
                     DISTRICT OF KANSAS
                    KANSAS CITY DOCKET

UNITED STATES OF AMERICA,
      Plaintiff,

v.                                       No. 14-CR-20143-CM-3

MARCOS LANE STUBBS,
     Defendant.

ORDER ON MOTION FOR MODIFICATION OF CONDITIONS OF
                PRETRIAL RELEASE

      Defendant Marcos Stubbs moves this Court for an order modifying

the conditions of his pretrial release to no longer require location

monitoring.1 There have been no reported violations since defendant was

released two months ago. The Government and pretrial services do not

object. Accordingly, it is ordered that the defendant’s conditions of

pretrial release no longer include location monitoring.


7/14/2015                                         /s/ James P. O’Hara
Date                                              Hon. James O’Hara




1 Doc. No. 57.



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